     Case 2:22-cv-01272-MEMF-AGR Document 34 Filed 03/29/22 Page 1 of 3 Page ID #:106
 Name and address:
                            Adam Pollock
                          Pollock Cohen LLP
                         60 Broad St., 24th Fl.
                         New York, NY10004

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
 Charissa Keebaugh, Stephanie Neveu, Heather Mercieri                       CASENUMBER
                                                                                                      2:22-cv-01272-MEMF-AGR
                                                         Plaintiff(s),
                  v.
 Warner Bros. Entertaiilrtterit,Jnc.                                         APPLICATION OF NON-RESIDENT ATTORNEY
                                                                                   TO APPEAR INA SPECIFIC CASE
                                                       Defendant(s),                             PROHACVICE
 INSTRUCTIONS FOR APPLICANTS
 ( I) The attorney seeking to appear pro hacvice must complete Section I of this Application, personally sigll, in. ink, the certification in
      Section II, andhave thedesignatedLoca/Counselsigni11 Section III. ELECTRONICSIGNATURESARENOT il.CCEPTED. Space to
      supplement responses is provided in Section IV The app/iamt must also attach a Certificate of Good Stai1dii1g (issued within the last 30
      days)from every state. bar to·whichheorshe is admitted;failure to doso will begrorm.dsfordenyingthe Applfr:ation. Scan the
      completed Application with its original inksignature, togetherwith aiiy attachment(s), to a single Portable Document Format (PDF)jile,
 (2) Have the designated Local Counselfile the Application electro11ically usilig the Court'sdectrailicfiling system ('Motions ai1d Related
      Filings = >Applications/E:i; Pa rte J\pplicatio11s!Motions/Petitio11s!Requests =>Appear PmHac Vice (G,64) 'J, attach t1 Proposed Order
      (us111g Form G-64 ORDER; available from the Cour(s website), and pay the required $500 fee 011//ne at the time offiling (using a credit
      card). TheJee is requiredfor each ca_se in which the applicantfilesan Application. Fiii/ure to pay thefee at the time offiling'lvW be
      groundsfor<denying the Application. 011t-ofstate federal government attorneys are not required to pay the $500fee. (Certain
      attorneysfor the United States a re also exemptfrom the requirement ofapplyb1gfor pro Jmcvice status. See LR. 83�2.lA) A copy of the
      G-64 ORDER ,in Word ar WordPerfectforniat must be emailed to the generic chambers email address. LR. 5-4.4,2.
SECTION 1- INFORMATION

 Pollock, Adam
 Applicant'sName (Last Name, First Name & Middle Initial)                                        check hereiffederal goyernment attorney □

 Pollock Cohen I,I.P
 Firm/Agency Name

 60Broad St 24th El                                                      212-337-5361
                                                                         Telephone Number                    BilxNumber
 Street Address

 New York. NY 1 0004                                                                        adam@nollockcnhen com
 City, State, Zip Code                                                                             E-mail Address

I have been retained. to represent the follmving parties:

Chadssa Keebau eh. Sreobao le Nevm 1 ·                                   Jg] Plafritiff(s) □ Defendant{s) D Other: ---------
Heather Mercierl                                                         00 Plaintiff(s) D Defendant(s) D Other: ---------
 Name.(s) ofParty(ies) Represe1ited
List all state and federal courts (including appellate courts) to whkh the applicant has.been adrnitted, and provide the current status of his or
her mernber�hiP: Use Se.ction IV if more room fs r1eeded, or fo. provide additional information.
                                 t
                  Name of Cour                          pate of Admission          Active.Member h1 Good Sta11di11g? (ifnot, please explab1)
 New York                                                Sept. 19, 2007
_New !ecsev                                           Nov. 14,.2006


G-6-1(09/20)                APPLICATIO.N OF NON,RESIDENT ATTORNEY TO J\PPEARJN A SPECIFIC CASE P�OHACVICE                             Page I of3
     Case 2:22-cv-01272-MEMF-AGR Document 34 Filed 03/29/22 Page 2 of 3 Page ID #:107

List aU cases in which the applicant has applied to this Court for pro /we vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                   Title of Action                            Date o(Application         Granted I Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           ( 1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
                substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
                Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
                of this Court and maintains an office in the Central District of California for the practice of law, in
                which the attorney is physically present on a regular basis to conduct business, as local counsel
                pursuant to Local Rule 83-2.1.3.4.

               Dated 3/27/2022




G-64 (09120)              APPLICATIO     OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                           Page 2 of3
     Case 2:22-cv-01272-MEMF-AGR Document 34 Filed 03/29/22 Page 3 of 3 Page ID #:108


SECTION III - DESIGNATION OF LOCAL COUNSEL

 Rosenfeld. Jeffrey M
 Designee's Name (Last Name, First Name & Middle Initial)

 Kronenherger Rosenfeld LLP
 Firm/Agency Name

 300 Snectrnm Center Drive                                         94 9-3 74-5036                              (949) 374-5056
                                                                   Telephone Number                            Fax Number
 Suite 400
 Street Address                                                    ieff®krinternetlaw com
                                                                   Email Address
 Irvine CA 92618
 City, State, Zip Code
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated   ~ h.u1 2.._
                                                                   Designee's N,    e (please type or print)


                                                                   D~          gnot~

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

rrhe following are all other bar and court admissions, continued from above. I'm in good standing and active
member of each.

SDNY - May 6, 2008
EDNY - May 7, 2008
NDNY - May 5, 2010
DNJ - June 20, 2017
US Tax Court - May 11, 2020
12d Cir . - January 22, 2021
C.D. Ill. July 28, 2021
Fed Cir. - October 8, 2021
M/DNY - December 6, 2021
U.S. Supreme Court - January 10, 2022




G-64 (09/20)               APPLICATlO   OF NON-RESIDE T ATTORNEY TO APPEAR TN A SPECIFIC CASE PRO HAC VJCE                         Page 3 of3
